             Case 2:05-cr-00248-GEB Document 34 Filed 05/30/06 Page 1 of 3


1    McGREGOR W. SCOTT
     United States Attorney
2    JASON HITT
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2751
5
6
                      IN THE UNITED STATES DISTRICT COURT
7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,     )           CASE NO. CR S-05-0248 FCD
10                                 )
                    Plaintiff,     )           STIPULATION AND ORDER
11                                 )           MOVING BRIEFING SCHEDULE AND
          v.                       )           HEARING DATE ON DEFENDANT’S
12                                 )           MOTION TO SUPPRESS
     MIGUEL ANGEL SANDOVAL, and    )
13   MICHELLE LYNN STUBBLEFIELD,   )
                                   )
14                  Defendants.    )
     _____________________________ )
15
          Plaintiff, United States of America, by its counsel,
16
     Assistant United States Attorney Jason Hitt, and defendant
17
     Michelle Lynn Stubblefield, by her counsel Hayes H. Gable III,
18
     stipulate and agree that the briefing schedule and non-
19
     evidentiary currently set on defendant’s motion to suppress
20
     should be reset as follows:
21
          Opposition Brief Due:                June 25, 2006
22
          Reply Brief Due:                     July 10, 2006
23
          Hearing Date:                        July 17, 2006, at 9:30 a.m.
24
     / / /
25
     / / /
26
     / / /
27
     / / /
28

                                           1
              Case 2:05-cr-00248-GEB Document 34 Filed 05/30/06 Page 2 of 3


1         The parties further stipulate that the period up to July 17,
2    2006, should be excluded from computation of the time for
3    commencement of trial under the Speedy Trial Act, based upon the
4    pending motion under 18 U.S.C. § 3161(h)(1)(F) and the interests
5    of justice under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4.
6
7                                               Respectfully Submitted,
8                                               McGREGOR W. SCOTT
                                                United States Attorney
9
10
     DATED:    May 26, 2006              By:    /s/Jason Hitt
11                                              JASON HITT
                                                Assistant U.S. Attorney
12
13   DATED:    May 26, 2006              By:    /s/Jason Hitt
                                                Telephonically authorized to
14                                              sign for Mr. Gable on 5-25-06
                                                HAYES H. GABLE, III
15                                              Attorney for STUBBLEFIELD
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            2
           Case 2:05-cr-00248-GEB Document 34 Filed 05/30/06 Page 3 of 3


1                                     ORDER
2         Based upon the representations and stipulation of counsel,
3    IT IS HEREBY ORDERED that:
4         1.   The briefing schedule and non-evidentiary currently set
5    on defendant’s motion to suppress is reset as follows:
6         Opposition Brief Due:               June 25, 2006
7         Reply Brief Due:                    July 10, 2006
8         Hearing Date:                       July 17, 2006, at 9:30 a.m.
9         2.   Based upon the representations and stipulation of the
10   parties, the court finds that the time exclusion under 18 U.S.C.
11   § 3161(h)(1)(F) applies and, in addition, the ends of justice
12   outweigh the best interest of the public and the defendant in a
13   speedy trial.   Accordingly, time under the Speedy Trial Act shall
14   be excluded through July 17, 2006.
15
16   DATED: May 26, 2006              /s/ Frank C. Damrell Jr.
                                      FRANK C. DAMRELL, JR.
17                                    United States District Judge
18
19
20
21
22
23
24
25
26
27
28
